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 4                               UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6
     UNITED STATES OF AMERICA, )
 7                                 )
                 Plaintiff,        )                      2:06-CR-00085-JCM-GWF
 8                                 )
     vs.                           )
 9                                 )
     STEFAN NAGHIU, et al.         )
10                                 )                      ORDER
                 Defendant.        )
11   ______________________________)
12          On June 9, 2009, defense counsel in this matter filed a motion for the return of
13   defendant’s passport. (Doc. #492). This court did not previously rule on the motion.
14          Given the two and one-half years that have passed since this motion was initially filed,
15   and counsel’s failure to request the status of the pending motion pursuant to Local Rule 7-6, this
16   court must presume that the motion has become moot over time.
17          Accordingly,
18          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED, that defendant’s motion for
19   return of his passport (doc. #492) be, and the same hereby is, DENIED without prejudice.
20          Dated this 28th day of November, 2011.
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23                                                        ________________________________
                                                          UNITED STATES DISTRICT JUDGE
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